Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 1 of 33
                                                                                         1


 1                     IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF FLORIDA
 2                           WEST PALM BEACH DIVISION
                            CASE NO. 9:18-cv-80176-BB
 3
       IRA KLEIMAN, as the personal representative
 4     of the Estate of David Kleiman, and W&K Info
       Defense Research, LLC,
 5
                   Plaintiffs,                                       November 29, 2021
 6                                                                   2:59 p.m.
                 vs.
 7
       CRAIG WRIGHT,
 8
                 Defendant.                    Pages 1 THROUGH 33
 9     ______________________________________________________________
                         TRANSCRIPT OF TRIAL DAY 16
10                     BEFORE THE HONORABLE BETH BLOOM
                        UNITED STATES DISTRICT JUDGE
11                            And a Jury of 10

12     Appearances:
       FOR THE PLAINTIFF:     ROCHE FREEDMAN, LLP
13                            DEVIN FREEDMAN, ESQ.
                              KYLE ROCHE, ESQ.
14                            200 South Biscayne, Suite 5500
                              Miami, Florida 33131
15
                              BOIES SCHILLER & FLEXNER
16                            ANDREW BRENNER, ESQ.
                              ALEXANDER J. HOLTZMAN, ESQ.
17                            SAMANTHA LICATA, ESQ.
                              100 Southeast 2nd Street, Suite 2800
18                            Miami, Florida 33131

19     FOR THE DEFENDANT:     RIVERO MESTRE, LLP
                              ANDRES RIVERO, ESQ.
20                            AMANDA M. MCGOVERN, ESQ.
                              2525 Ponce de Leon Boulevard, Suite 1000
21                            Coral Gables, Florida 33134

22     COURT REPORTER:        Yvette Hernandez
                              U.S. District Court
23                            400 North Miami Avenue, Room 10-2
                              Miami, Florida 33128
24                            yvette_hernandez@flsd.uscourts.gov

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 2 of 33
                                                                                           2


 1          (Call to order of the Court, 2:59 p.m.)

 2               THE COURT:    All right.              Good afternoon to everyone.

 3     Go ahead and have a seat.

 4               I trust everyone had a nice holiday weekend and it's

 5     good to see everyone.

 6               If I may, before we proceed, if we can just have a

 7     record of who is present in the courtroom, so let us formally

 8     call the case.

 9               COURTROOM DEPUTY:           Calling Civil Case Number 18-80176,

10     Ira Kleiman v. Dr. Craig Wright.

11               Counsel, please state your appearances, starting with

12     Plaintiffs counsel.

13               MR. FREEDMAN:       Good afternoon, Your Honor.                  Vel

14     Freedman and Kyle Roche, from Roche Freedman.                         And Andrew

15     Brenner, Samantha Licata, Alex Holtzman, and Judy Little, from

16     Boies Schiller & Flexner on behalf of Plaintiffs.

17               MR. RIVERO:     Good afternoon, Your Honor.                    Andres

18     Rivero for Dr. Craig Wright.

19               MS. McGOVERN:       Good afternoon, Your Honor.                  Amanda

20     McGovern for Dr. Wright.

21               THE COURT:    Good afternoon once again to everyone.

22               As you know, the jury began its deliberations this

23     morning at approximately 9:30.                At 2:17 p.m., I did receive a

24     note from the jurors.       It is in the form of a question that

25     reads as follows:     "Unjust enrichment.                     We would like the

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 3 of 33
                                                                                             3


 1     simple definition word 'conferred,'" signed by the foreperson,

 2     dated today at 2:17 p.m.

 3               MR. BRENNER:      Judge, I didn't catch the -- simple

 4     definition.    What was the last word?

 5               THE COURT:    "Unjust enrichment.                       We would like the

 6     simple definition word 'conferred.'"

 7               MR. BRENNER:      "Word conferred"?

 8               MR. FREEDMAN:       They want the definition of the word

 9     "conferred."

10               THE COURT:    I'm reading verbatim from the note.

11               As you know, the instructions set forth the three

12     elements of unjust enrichment, but did not define the word

13     "confer."    To assist the parties, we have taken the liberty, in

14     preparation for each of the attorneys being present in the

15     courtroom, to provide for a suggestion, the Black's Law

16     Dictionary definition of the word "confer," which from the 2019

17     edition states:     "To grant, paren, something, as a gift,

18     benefit, or honor."

19               MS. McGOVERN:       Yeah.         That's what I see.

20               THE COURT:    So let me give you a few moments and I'm

21     open to suggestions.

22               MR. BRENNER:      Okay.

23          (Pause in proceedings.)

24               THE COURT:    And while we're doing that, I'm just going

25     to ask the court security officer to just show you the note, so

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 4 of 33
                                                                                             4


 1     you can understand how it's been phrased.

 2                MR. RIVERO:    Thank you, Judge.

 3          (Pause in proceedings.)

 4                THE COURT:    A response from either the Plaintiffs or

 5     the Defendant?

 6                MR. FREEDMAN:      Your Honor, can we just have 30 more

 7     seconds?

 8                THE COURT:    Yes.       Of course.              Of course.

 9          (Pause in proceedings.)

10                MR. BRENNER:     Judge, on behalf of the Plaintiffs, we

11     don't like the Black's concept just because the concept of

12     gifting seems strange for an unjust enrichment claim.                           So we're

13     trying to work with it to try to make it as -- I don't know --

14     as conversational as possible or as plain as possible.                           We

15     thought maybe it would read:              "David Kleiman and/or W&K

16     provided a benefit to Dr. Craig Wright."                          So the word "on"

17     becomes "to" and "conferred" becomes "provided."

18                THE COURT:    Well, they have asked for the definition

19     of the word "conferred."

20                MR. BRENNER:     Oh.       I guess it would be -- I guess

21     "provided."

22                MR. RIVERO:    Judge, we --

23                MR. BRENNER:     Or -- oh, I'm sorry.                      Or in another

24     form, instead of "conferred," it could be:                            "Caused to receive"

25     also.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 5 of 33
                                                                                           5


 1               MR. RIVERO:     Judge, we agree with the Court going to

 2     Black's Law Dictionary.         If I can just say a word about that,

 3     Judge.   The Black's Law Dictionary has been taken over by Bryan

 4     Garner, who is one of the respected grammarians and linguistic

 5     specialists in the law in the United States.                          So we think the

 6     Court has it right in going with "granted" as Black's Law says.

 7               THE COURT:    Well, where would the word "provided" be

 8     found as synonymous with "conferred," Mr. Brenner?

 9               MR. BRENNER:      Where would it be -- I'm sorry?

10               THE COURT:    Yes.        You've suggested "provided" or

11     "caused to receive" and I'm just wondering where you found

12     that.

13               MR. BRENNER:      Oh, I didn't go online and go into

14     Webster's.    I can do that and see how Webster's defines it.

15     I'm concerned with the idea of using something that's -- oh, so

16     apparently the Merriam-Webster synonym is "give" or "gave,"

17     which is fine with us too.            I'm just concerned with "gifting."

18     It's something that's not been in any -- it's really not what

19     unjust enrichment is.

20               MR. FREEDMAN:       Your Honor, I'm looking at the

21     Merriam-Webster definition online, Your Honor.                         It says -- the

22     second definition says:         "To give, open paren, something such

23     as a property or characteristic to someone or something."                         Of

24     course, the dictionary definition doesn't really -- I mean, I

25     understand they've asked for the dictionary definition, but

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 6 of 33
                                                                                              6


 1     that doesn't mean they're entitled to it.                             Because the cause of

 2     action is more than just a dictionary definition.                            It is a

 3     concept in the law.

 4                And we are extremely concerned that if we inject the

 5     concept of a gift into the definition, as Black's Law

 6     Dictionary -- which while Bryan Garner is a very fine lawyer,

 7     he was not defining the word for this use -- that would

 8     prejudice the Plaintiffs.

 9                THE COURT:    Well, would the parties be amenable, since

10     they've only asked for the word "conferred," C-O-N-F-E-R-R-E-D,

11     for the Court to give a present perfect of to give or to grant?

12     Would that be acceptable?

13                MR. FREEDMAN:      Your Honor, there's also the word

14     "provide" as one of the words related to confer on

15     Merriam-Webster.     We think that that's a little bit more

16     synonymous with the intent behind an unjust enrichment claim.

17                MR. RIVERO:    Judge, I actually don't -- I don't agree.

18     I think we're getting far, far afield.                        "Provide" has many

19     different meanings.      To give or grant.                    I mean, "give" was one

20     of the words that it pointed to.                  It's a very simple version of

21     "grant."

22                "Grant" is simply a word with perhaps some more legal

23     connotation.    I think "grant" is the precise word.                          "Give" is a

24     general word, which they suggested.                     I think the Court's

25     splitting the difference very nicely and we think that's a very

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 7 of 33
                                                                                             7


 1     reasonable accommodation to the Plaintiffs' request.

 2               THE COURT:    All right.              So I would suggest that the

 3     Court -- since they've asked for a simple definition of the

 4     word "conferred," for the Court to say:                         "Confer means to,

 5     quote, give or grant."        Would that be acceptable?

 6               MR. FREEDMAN:       Your Honor, to the Plaintiffs -- we

 7     would like the word "provide" in there.                         So if we say:   "To

 8     give, to grant, or to provide"?

 9               THE COURT:    By where would the Court find the word

10     "provide."

11               MR. FREEDMAN:       I'm looking at Merriam-Webster

12     thesaurus, "confer."      And it's listed as one of the words

13     related to confer; "provide."

14               Because Your Honor, the problem is the concept of

15     giving implies that there is an affirmative act to give.                         And

16     we all know that unjust enrichment doesn't necessarily require

17     the affirmative act of one on the other.                          It requires one party

18     to obtain a benefit from the other that is unjust for that

19     person to keep.     And so the concept of giving, we believe,

20     inappropriately defines the cause of action.                          So if we say:

21     "Provide," we think that cures that issue.

22               THE COURT:    How about if I just say:                      "Confer means to

23     grant," which would be from the Black's Law Dictionary?                         Would

24     that be acceptable to both sides?

25               MR. FREEDMAN:       Same problem for us, Your Honor.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 8 of 33
                                                                                      8


 1               MR. RIVERO:     It would be acceptable to us as well,

 2     Your Honor, as the other suggestion the Court made.

 3               MR. FREEDMAN:       If Your Honor wants to give us --

 4               MR. RIVERO:     If I may.

 5               MR. FREEDMAN:       Sorry.

 6               MR. RIVERO:     Either of the suggestions the Court has

 7     made are acceptable to us and we think very reasonable,

 8     especially because we don't need the word "provide" when we're

 9     looking at any dictionary definition.

10               THE COURT:    Yeah.         Where would the Court find

11     "provide"?    If I look in the Webster's?

12               MR. FREEDMAN:       I'm on Webster's thesaurus, Your Honor.

13               MR. RIVERO:     Thesaurus?              Your Honor --

14               MR. FREEDMAN:       If I may, Mr. Rivero.

15               Your Honor, we just heard this word from you three

16     minutes ago.    We're doing our best.                   If the Court warrants to

17     take a 15-minute recess we can start looking at dictionary --

18               THE COURT:    I can do that.                  But as you were

19     conferring, the court security officer gave me another written

20     list of questions from the jury.

21               So why don't we do this:                  Let me -- I think the

22     definition of "conferred" is a little bit easier, but let me

23     read the second note from the jury, that reads as follows: "How

24     much of intellectual property does W&K currently have under the

25     estate," question mark.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 9 of 33
                                                                                           9


 1               "Do we need to select an amount for Bitcoin and

 2     intellectual property," question mark.

 3               "When answering yes to a question requiring an amount,

 4     must we follow a certain formula or can we leave it blank?

 5     Many of us do not feel comfortable adjudicating" --

 6     A-D-J-C-A-T-I-N-G -- "an amount" -- "adjudicating our amount."

 7               MR. FREEDMAN:       Is it "adjudicating" potentially?

 8               THE COURT:    It's A-D-G -- I'm sorry.

 9     A-D-J-C-A-T-I-N-G.

10               And I'll ask the court security officer to again

11     provide the parties with the three questions from the jurors.

12               The response to those questions may take a little bit

13     of time and may require the jurors to come into the courtroom,

14     but let me give you a few minutes to confer.

15               MR. RIVERO:     Your Honor, may we take a photograph

16     or -- I don't know if that's permitted, so that we can continue

17     to look at it, or the Court prefers us to just read it?

18               THE COURT:    Yeah.         I do not feel comfortable with a

19     photograph being taken in the courtroom.                          But please take the

20     time to review it.

21               MR. RIVERO:     We will.

22               MR. FREEDMAN:       Your Honor, what about a photocopy so

23     each party can have --

24               THE COURT:    Yes.        Of course.              Of course.    We'll

25     provide a photocopy.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 10 of 33
                                                                                           10


  1               Let me give a copy -- well, I actually started the

  2    response to the jury question on the definition of "conferred."

  3    So I'd like to finish this one.                 And then we'll make a copy of

  4    that for you.

  5               And I'll go ahead and look at the dictionaries.

  6               Just for the record, the Webster dictionary of

  7    "confer" is:     "To give or bestow."

  8               MR. FREEDMAN:      Your Honor, I'm being told by my

  9    co-counsel that I have been overruled and we will accept the

10     definition read by the Court.

11                THE COURT:    And which one?                 Is it:        "To give or grant"

12     or --

13                MR. FREEDMAN:      "To give or bestow," Your Honor.

14                THE COURT:    "Give or bestow."                    Is there any objection

15     to that?

16                MR. RIVERO:    One moment, Your Honor.

17          (Pause in proceedings.)

18                MR. RIVERO:    Yes, Judge.               We agree.

19                THE COURT:    Okay.        "To give or bestow."

20                All right.    So the Court's written response will

21     state:    "Confer means to give or bestow."

22                Any objection?

23                MR. RIVERO:    None from the Defense, Your Honor.

24                MR. FREEDMAN:      No, Your Honor.

25                Thank you.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 11 of 33
                                                                                   11


  1               THE COURT:    All right.             At 3:15, I'm going to direct

  2    the court security officer to bring in the Court's written

  3    response.    And then, once it's provided -- actually, do you

  4    want to look at it?      Because it's going to be in the jury's --

  5    in the jury room and I don't want to have to go back in just to

  6    make a copy.     So why don't you look at the Court's written

  7    response.

  8               Liz is now giving you a copy of the second set of

  9    questions, and we can take the time now to either formulate

10     written responses or to provide further instruction to the

11     jury.

12          (Pause in proceedings.)

13                THE COURT:    Yeah.        We can bring that one in.       And

14     we're going to work on the second set.

15                Okay.   And just let me know when we're ready to

16     address the second set of questions.

17          (Pause in proceedings.)

18                MR. BRENNER:     Any luck -- oh, the word "currently" is

19     at the end of the first line after "W&K"?

20                MR. FREEDMAN:      Yes.

21                THE COURT:    Yeah.        "Currently have under the estate."

22          (Pause in proceedings.)

23                THE COURT:    Does either side have a response to any of

24     the questions?

25                MR. FREEDMAN:      We're getting there, Your Honor.          Maybe

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 12 of 33
                                                                                           12


  1    another five minutes.

  2               THE COURT:    All right.

  3         (Pause in proceedings.)

  4               MR. FREEDMAN:      Your Honor, we have a proposed

  5    response.

  6               THE COURT:    All right.

  7               MR. FREEDMAN:      For question number one, we would tell

  8    the jury that:     "You must rely on your collective memory."

  9               Question number two, we would say:                         "Yes."

10                For question number three, we would say:                        "Yes.   The

11     Court has instructed you on how to calculate the amount of

12     damages for each claim and you must follow those instructions."

13                I can read any of those back.                      I know I went kind of

14     fast and you are not a stenographer, Your Honor.

15                THE COURT:    On behalf of the Defendant?

16                MS. MCGOVERN:      Your Honor, with respect to question

17     number one, the Defense position is that the intellectual

18     property in this case remains with W&K.

19                With respect to question number two, we believe

20     definitively that the answer is:                  "No."         They are not obligated

21     to select an amount for Bitcoin and intellectual property.

22                Number three, the Defense position is:                        "There is no

23     specific formula and you may enter a zero or leave the amount

24     blank.    In any event, all questions of fact must depend upon

25     your memory based on the evidence presented."

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 13 of 33
                                                                                             13


  1               THE COURT:    All right.             Let's --

  2               MR. FREEDMAN:      Your Honor, we can respond to the

  3    Defendant's proposal, if the Court is amenable.                         I just wanted

  4    to wait till you had them both down.

  5               THE COURT:    All right.             Mr. Freedman.

  6               MR. FREEDMAN:      For number one, Your Honor, we think

  7    it's entirely inappropriate for the Court to instruct the jury

  8    on the position of who owns the intellectual property.

  9    Obviously, if that was the case, we would have asked you to

10     tell them that the estate has nothing.                        But we just don't

11     believe that's an appropriate instruction to the jury.                         And so

12     that's why we came up with:             "You must rely on your collective

13     memory" as the response.

14                For number two, we believe they do have to select an

15     amount.    That amount could be zero.                   That is true.      But they

16     must select an amount.

17                And for three, Your Honor, again, there is a

18     formulation for damages.          There is -- the Court has instructed

19     them on the price of Bitcoin, either the current price of

20     Bitcoin or the highest price of Bitcoin.                          And so there is a

21     formulation that they must follow and they are obligated to

22     follow those instructions.

23                THE COURT:    I would suggest the following:                     With

24     regard to the first question:               "How much of intellectual

25     property does W&K currently have under the estate," my

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 14 of 33
                                                                                          14


  1    suggestion is to advise them that all the evidence has been

  2    received and they must rely on their collective memory of the

  3    evidence in this case, which I believe is appropriate given the

  4    question that's being asked.

  5               With regard to the second question:                        "Do we need to

  6    select an amount for Bitcoin and intellectual property," I

  7    would suggest that the Court reread the portion of the damages

  8    instruction that states that:               "If you find for the estate of

  9    David Kleiman and/or W&K on any of its claims, you must

10     consider the matter of damages.                 Generally, you should award an

11     amount of money that the preponderance of the evidence shows

12     will fairly and adequately compensate the estate of David

13     Kleiman and/or W&K for its damages."

14                And I would suggest that the Court just remind them to

15     rely on the Court's instructions with regard to the claims and

16     with regard to the damages.

17                Would that be acceptable to both sides?

18                MS. MCGOVERN:      Your Honor, may I respond to that

19     question?

20                THE COURT:    Yes.

21                MS. McGOVERN:      Do you mind if I remain seated?

22                THE COURT:    Not at all.

23                MS. MCGOVERN:      I don't want to use an overformality on

24     this.

25                With respect to the second question, the concern that

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 15 of 33
                                                                                         15


  1    we have, Your Honor, is that it seems that the jury is confused

  2    and believes that it must come up with a number.                       And that

  3    number can be zero.      And without explaining to the jury, it

  4    implies that they must come up with a positive figure.                       In

  5    other words, it seems the question is:                        "Do we need to select

  6    an amount for Bitcoin and intellectual property," I think

  7    believing that zero is not an amount.

  8               So without a clarification, it's going to lead to

  9    something that the jury has not determined with that

10     understanding, and that would be the concern with respect to

11     number two.

12                I think the same problem could arise with respect to

13     number three, when asked about a certain formula.                       I don't

14     think you can reasonably read the jury instructions to believe

15     that the jury must come up with a formula based upon the price

16     of Bitcoin times a number.            I think they're asking again -- "We

17     don't feel comfortable.         Some of us don't feel comfortable

18     adjudicating this amount."            That's an element of the claim.              So

19     with a clarification that doesn't explain that that amount is

20     part of the claim, it isn't a clarification that actually

21     helps.

22                MR. FREEDMAN:      Your Honor, we believe your instruction

23     is appropriate.     To the extent the jury has reached the amount

24     of damages, that means they have already determined that we

25     have made out a cause of action and that therefore zero is not

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 16 of 33
                                                                                           16


  1    a proper number.

  2               THE COURT:    Well, I do agree with Ms. McGovern to the

  3    extent that, in looking at the Verdict Form, there are lines

  4    for them to complete.       And if they have found that one or more

  5    of the Plaintiffs is entitled to receive any amount of damages,

  6    they're asking specifically:              "Do we need to select an amount

  7    for Bitcoin and intellectual property?"

  8               I'm emphasizing "and."               I don't know if their request

  9    is:   "Do we need to select an amount for Bitcoin" or "an amount

10     for Bitcoin and intellectual property," or they're asking for

11     an amount for the Bitcoin and an amount for intellectual

12     property.

13                But regardless of how we interpret it, I do agree with

14     Ms. McGovern that they are asking for a specific answer.                        And I

15     think the answer is if they find consistent with the jury

16     instructions that one or more of the Plaintiffs is entitled to

17     recovery, then they need to select an amount.                         That can be

18     zero.    It can be more than zero.                But they do need to put a --

19     some type of a number on the line.                     And that's my concern, is

20     that they may leave that blank.                 And that's where I think we're

21     going to have some issues with regard to an inconsistent

22     verdict.    And I would rather give them some direction.

23                MR. FREEDMAN:      Your Honor, if we may have one moment.

24           (Pause in proceedings.)

25                THE COURT:    And let me also state that with regard to

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 17 of 33
                                                                                          17


  1    the third question, there is no formula.                          But in response to

  2    their question:     "Can we leave it blank," I think that's where

  3    I would suggest that the Court read to them the portion of the

  4    damages and then refer -- damages instruction and then refer

  5    them back to the jury instructions.                     But specifically:      "Can we

  6    leave it blank," if they find for one or more of the parties,

  7    then they must respond appropriately consistent with the

  8    guidance that's provided in the Verdict Form.

  9               MR. FREEDMAN:      So Your Honor, our concern is that, for

10     example, if you look at the fiduciary duty claim, one of the

11     elements of the claim is damages.                   And now when you get down

12     to -- and you answer -- if there's an answer yes, for

13     example -- or:     In the partnership claim, if there's an answer

14     yes, now there must be a damages amount listed.

15                I understand that it could be, you know, a number on

16     the top line and a zero on the bottom line, but it can't be a

17     zero on both lines.      That would be an inconsistent verdict.

18     And so we're concerned that you can't tell the jury that they

19     can put a zero on both lines, essentially, if they have gotten

20     to that next question.

21                If they've answered "yes" to question one, for

22     example, they can't put a zero on both lines in question two.

23     But they could, as the Court has pointed out, put a zero on one

24     and a number on the other.

25                Of course --

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 18 of 33
                                                                                           18


  1               THE COURT:    Well, that's why I believe that the Court

  2    should instruct them:       "Read the instruction on damages.                     You

  3    are to award an amount you feel comports with the evidence,"

  4    and specifically with regard to selecting an amount for Bitcoin

  5    and intellectual property, that they're to complete the Verdict

  6    Form based on the questions that have been asked.                          And there is

  7    no -- well, actually, I don't even want to say that.

  8               I think that with regard to:                     "Must we follow a

  9    certain formula," I think it's important for the Court to

10     remind them that all of the instructions on the law and all of

11     the instructions with regard to completing the Verdict Form

12     have been given to them.          So there's no further instruction

13     with regard to any formula.

14                But with regard to leaving it blank, I agree with

15     Ms. McGovern that I think the Court should say to them that:

16     "Consistent with answering each question to your ability, given

17     the instructions, with regard to a leaving it blank, that you

18     cannot leave it blank based on the questions that are asked"

19     because it directs you to move to another question if they

20     find, you know, one way or the other.

21                So I'm hesitant to answer question three with a number

22     other than to say:      "Comports with the evidence.                      It may be --

23     it can be zero.     It can be more than zero."                        So at least that

24     they're directed to complete the Verdict Form.                          That's where I

25     think it's a little tricky to say anything other than remind

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 19 of 33
                                                                                        19


  1    them of the directions that were given in the Verdict Form.

  2               MS. MCGOVERN:      Your Honor, if I may just make one

  3    point with respect to question three.                       I don't think it's

  4    appropriate for us to be using these questions and applying it

  5    to a specific count.      We don't know what triggered this

  6    question from the jury.         I think the questions are very

  7    straightforward.     They want to know whether or not they must

  8    follow a specific formula.            And I think that the response that

  9    the Court has just stated, which is:                      "There is not an

10     additional instruction here and there is no specific

11     formula" -- I think if the number -- if the jury determines

12     that it has answered yes to a question requiring an amount, I

13     think they're entitled to know that there's not a specific

14     formula, the jury instructions control, the evidence controls,

15     their memory controls.        And whatever number it's going to be,

16     as opposed to leaving it blank, can include zero.

17                I think it's confusing because there are two blanks

18     there.    And they simply want to know whether the number can

19     include a zero, and it can.

20                MR. FREEDMAN:      Your Honor, I'm not sure that that's

21     what was asked at all.        And in fact, if I were to guess -- and

22     we're all just guessing at what was meant by the question --

23     there is some hesitation because there's potentially

24     significant amounts of money at issue in the case.                      The jury

25     has to know that they can't not fill out significant amounts of

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 20 of 33
                                                                                          20


  1    money just because they are uncomfortable writing down

  2    significant amounts of money.               They must answer the questions.

  3    This is what they were charged to do.                       It is not appropriate to

  4    put zero if they have gotten down to the question of damages

  5    because they have now found for the Plaintiffs.

  6               THE COURT:    Well, it actually is, Mr. Freedman.                   For

  7    example, with regard to unjust enrichment, they may find with

  8    regard to -- and I'm looking specifically at question 19 that

  9    if they find yes for unjust enrichment, they could certainly

10     find with regard to the estate of David Kleiman that perhaps

11     he's entitled to a certain number of Bitcoin, but perhaps he's

12     not entitled to intellectual property.                        And if they find yes

13     for W&K, maybe they find that W&K is entitled to some

14     intellectual property, but not entitled to a numerical amount

15     owed from Bitcoin.

16                So I can understand where there might be some

17     confusion when they ask the question:                       "Do we need to select an

18     amount for Bitcoin and intellectual property?"

19                To that extent, I believe that they do need to have

20     some guidance because it doesn't say:                       "You must provide a

21     number on both lines."        But they must give some answer.                 And

22     that's where I agree with Ms. McGovern that I believe that we

23     should be able to say to them:                "It can be zero.         It can be

24     more than zero."

25                MR. FREEDMAN:      But the problem with that response,

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 21 of 33
                                                                                             21


  1    Your Honor, is it impies it could be zero on both lines.

  2               So I agree with you that you could have zero on one

  3    line.    You can't have zero on both lines.                           So I think that the

  4    Court's response -- I think if the Court would like to give the

  5    jury insight on this, then the Court's response has to say:

  6    "If you have reached a question -- if you have answered yes,

  7    and the question has a slot for Bitcoin and for intellectual

  8    property, you must place an amount on either Bitcoin or

  9    intellectual property.        You do not have to place it on both,

10     but you also could do it on both."

11                It just gets a little confusing.                           But the Court cannot

12     say to them that they can do zero on both lines.                            That would be

13     inappropriate in our --

14                THE COURT:    Be acceptable to the Defendant?

15                MS. McGOVERN:      Your Honor, no, it would not.

16                And the reason for this is we cannot assume that the

17     jury must find damages in this case for two reasons.                            First,

18     the evidence in the case specifically stated that the

19     intellectual property is currently with W&K.

20                Second, there's a question of whether or not the keys

21     are on the encrypted hard drive that were found on Dave

22     Kleiman's body.

23                We can't assume that the jury must find damages

24     because they have determined yes.                   This is -- the case is with

25     the jury.    The jury is going to make a determination on those

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 22 of 33
                                                                                      22


  1    elements.    There's language here that I'm simply reading

  2    verbatim.    "Many of us -- many of us -- do not feel

  3    comfortable."     I think we have to let the jury determine and

  4    simply know that there's not a specific formula and that the

  5    damages must be based on evidence, whatever that number is.

  6               We do not -- the Defense does not agree with any

  7    insinuation that there must be an amount of damages found

  8    simply because a claim of yes is answered to a question.

  9               MR. FREEDMAN:      Your Honor, if you look at the jury

10     instructions, the elements of the claims include damages.                     So

11     I'm looking at -- just at 11, "Fiduciary Duty," that this

12     breach was a legal cause of damages to W&K.

13                At, you know, "Civil Theft.                    Dr. Wright's actions were

14     a legal cause of damages to the estate of Dave Kleiman and

15     W&K."

16                You know, three:         "It would be inequitable or unfair

17     to retain the benefit.        Fraud.          The false statement or omission

18     caused damage."     I mean, it goes on, but -- in "Constructive

19     Fraud.    Proximately caused one or more of the Plaintiffs to

20     suffer damages.     It is simply untrue they can check yes and

21     then put zero down for damages for both lines.

22                THE COURT:    I believe it's appropriate to give them

23     the damage instruction, refer them back to the instructions

24     with regard to the determination of damages, remind them to

25     follow the instructions, tell them they are to award an amount

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 23 of 33
                                                                                              23


  1    that they feel comports with the evidence.                            That with regard to

  2    responding to each question, the Verdict Form gives them

  3    instructions.

  4               And with regard to number two:                       "Do we need to select

  5    an amount for Bitcoin and intellectual property," to advise

  6    them that they are to answer each question to the best of their

  7    ability given the instructions.

  8               MR. FREEDMAN:      We have no objection, Your Honor.

  9               MS. McGOVERN:      Again, Your Honor, we simply believe

10     that the appropriate answer to question number two is:                           "No."

11                I think that the Verdict Form as it reads suggests

12     that if you find yes, then you must find a number for both.

13     And that's not, in fact, the intended meaning of the question.

14     It's a legitimate question.             And it's simply:                "No."   Or at a

15     minimum, if the answer is zero, that number can include zero.

16                THE COURT:    Okay.        Would the parties be comfortable

17     with the Court saying:        "The answer can be zero.                     It can be

18     more than zero"?

19                MR. FREEDMAN:      No, Your Honor, not unless the Court

20     also gives an instruction that the answer cannot be zero for

21     both lines.

22                MS. McGOVERN:      We're comfortable with that, Your

23     Honor, not comfortable with what Mr. Freedman has just

24     suggested.    We think what you have just suggested answers the

25     question.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 24 of 33
                                                                                     24


  1               MR. FREEDMAN:      It's simply not consistent that the

  2    jury can find zero on both lines after having found a cause of

  3    action in the Plaintiffs' favor.                  And the Court's response

  4    would imply that they can find zero on both lines, and that

  5    would be improper in our position, Your Honor.

  6               And we think that the Court's prior suggestion to

  7    direct the jury back to the instructions is the appropriate way

  8    to go in this case.

  9               MS. McGOVERN:      Your Honor, I don't think that a

10     question that the jury has asked us to contemplate and help

11     them with is answered by simply bringing them back to where

12     they were without an answer.

13                I think that with respect to number two, the specific

14     question is:     "Do we need to select an amount for Bitcoin and

15     intellectual property?"         Going beyond that question and saying:

16     "You must find a number for one of them," goes beyond the

17     question.    That's not what they've asking.

18                THE COURT:    Then what I would suggest, if the parties

19     are not in agreement -- and it's specifically with regard to

20     question two:     "Do we need to select an amount for Bitcoin and

21     intellectual property?"         -- that if the parties feel

22     comfortable, I will respond by asking them for more detail

23     regarding their second question.                  Would that be acceptable?

24                MR. FREEDMAN:      That's fine for us, Your Honor.

25                MS. McGOVERN:      That's fine, Your Honor.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 25 of 33
                                                                                        25


  1         (Pause in proceedings.)

  2               THE COURT:    All right.             "The Court is requesting a

  3    clarification as to the second question above."

  4               Is that acceptable?

  5               MS. McGOVERN:      For the Defense it is, Your Honor.

  6               MR. FREEDMAN:      Yes, Your Honor.

  7               THE COURT:    All right.             Can you bring this in to the

  8    jury and ask them to provide a written response.

  9               Thank you.

10          (Pause in proceedings.)

11                THE COURT:    Okay.        We have a response from the jury to

12     my request for a clarification.                 And the response reads as

13     follows:    "If we answer yes, do we decide on a monetary value?

14     Do we follow the amounts the Plaintiff presented to us?"

15                Response by either side?

16                MR. FREEDMAN:      Your Honor, just one moment.

17          (Pause in proceedings.)

18                MR. BRENNER:     Can I ask you to read that one more

19     time, please.

20                THE COURT:    "If we answer yes, do we decide on a

21     monetary value?     Do we follow the amounts the Plaintiff

22     presented to us?"

23                MS. McGOVERN:      Your Honor, the Defense position is no.

24                MR. FREEDMAN:      Your Honor, the Plaintiffs' position

25     is -- to the first question, which is:                        "Do we determine

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 26 of 33
                                                                                           26


  1    amounts," the answer is:          "Yes."

  2               And to the second question:                    "Do we have to follow the

  3    amounts the Plaintiff has given you," we believe the Court

  4    should refer the jury back to the instructions and advise them

  5    the Court's instructed them on how to calculate damages.

  6               THE COURT:    Okay.        The Court is going to respond as

  7    follows:    With regard to:         "How much intellectual property does

  8    W&K have under the estate," the response will be:                        "All the

  9    evidence has been received.             You must rely on your collective

10     memory of the evidence in this case."

11                With regard to question two:                     "Do we need to select an

12     amount for Bitcoin and intellectual property," that has been

13     clarified:    "If we answer yes, do we decide on a monetary

14     value, do we follow the amounts the Plaintiff presented to us,"

15     the Court is going to refer them back to the damage

16     instruction, read them the portion with regard to:                        "If you

17     find for the estate of David Kleiman" on Page 16 and ends on

18     Page 17.    Then I'm going to let them know that they have

19     additional instructions with regard to damages and they are to

20     award an amount that they feel comports with the evidence.

21                With regard to question three:                       "When answering yes to

22     a question requiring an amount, must we follow a certain

23     formula or can we leave it blank," the answer is going to be:

24     "No additional instructions will be provided.                         All of the

25     instructions have been provided to you with regard to the

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 27 of 33
                                                                                           27


  1    claims and damages if you find they're appropriate."

  2               Okay.   Anything further?

  3               MS. MCGOVERN:      Yes, Your Honor.                    With respect to

  4    question two, we ask that the Court include the ability for the

  5    jury to follow its own formula and include zero if they believe

  6    that that is appropriate.           Doesn't have to be that specific

  7    language, Your Honor.       But by referring the jury specifically

  8    back to the jury instruction, without allowing them or giving

  9    them the clarification that it can be zero, they may believe

10     that they have to follow what the Plaintiff has requested.

11     That's the question that they've asked for:                           "Must we follow

12     what the Plaintiff presented?"

13                I think the answer to that clarified question is:

14     "No.   You do not have to follow what the Plaintiff presented.

15     Please refer back to the jury instructions."

16                THE COURT:    And I don't think the Court needs to

17     answer a yes or no, other than referring the jury back to the

18     instructions.

19                Okay.   All right.         We are going to bring the jury in

20     because I am going to respond verbally in the courtroom by

21     reading their question and then providing an answer.

22                So if there's nothing further, all rise for the jury.

23          (Before the Jury, 3:53 p.m.)

24                THE COURT:    All right.             Good afternoon, Ladies and

25     Gentlemen.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 28 of 33
                                                                                         28


  1               Please be seated.

  2               It's good to see each of you.                      I know that you arrived

  3    timely this morning and you have been deliberating, and it is

  4    now 10 to 4:00.

  5               I have received a second question.                         The first

  6    question, the Court did respond in writing to you after

  7    conferring with the attorneys.

  8               The second note the Court received reads as follows --

  9    and I will respond in kind based on the three questions that

10     were asked.     Number one is:          "How much of intellectual property

11     does W&K currently have under the estate?"

12                The answer, Ladies and Gentlemen, is all the evidence

13     has been received.      You must rely on your collective memory of

14     the evidence in this case.

15                The second question is:                "Do we need to select an

16     amount for Bitcoin and intellectual property?"

17                I did request a clarification as to the second

18     question, which states:         "If we answer yes, do we decide on a

19     monetary value?     Do we follow the amounts the Plaintiff

20     presented to us?"

21                Ladies and Gentlemen, you have been provided jury

22     instructions, including the instruction with regard to damages.

23     And I will refer you to Page 16 of the jury instructions and

24     also read that:     "If you find for the estate of David Kleiman

25     and/or W&K on any of its claims, you must consider the matter

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 29 of 33
                                                                                           29


  1    of damages.     Generally, you should award an amount of money

  2    that the preponderance of the evidence shows will fairly and

  3    adequately compensate the estate of David Kleiman and/or W&K

  4    for its damages."      The Court then further gave you further

  5    instructions with regard to specific items of damages.

  6               With regard to question three:                       "When answering yes to

  7    a question requiring an amount, must we follow a certain

  8    formula or can we leave it blank?                   Many of us do not feel

  9    comfortable adjudicating" -- A-D-J-C-A-T-I-N-G -- "an amount."

10                Ladies and Gentlemen, there are no additional

11     instructions to be given regarding any formula.                        All of the

12     instructions with regard to the claims and the amount of

13     damages, if you find that damages are appropriate, have been

14     provided to you.     I would suggest that you review the jury

15     instructions and follow the Verdict Form that has been very

16     specific with regard to giving you instructions on how to

17     answer each question.

18                All right.    The Court has responded to each of your

19     questions and I would ask that you return to the jury room to

20     continue your deliberations.

21          (Jury not present, 3:56 p.m.)

22                THE COURT:    All right.             A copy of the questions and

23     the Court's response will be provided to the attorneys.

24                Let me also provide some housekeeping.                      What I plan to

25     do moving forward, to the extent that the jury continues its

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 30 of 33
                                                                                           30


  1    deliberations to the next day, is excuse the -- or adjourn for

  2    the evening at 5:00, give the jury the admonishment with regard

  3    to not speaking to anybody about the case or doing any

  4    independent research.

  5               The jury has specifically requested of Liz that they

  6    be allowed to come in at 10:00.                 It was hard for some of the

  7    jurors to be here at 9:30.            And I just want to make sure that

  8    that's appropriate for the attorneys.                       As well, they would like

  9    to leave at 5:00.      Is there any objection to that?

10                MR. FREEDMAN:      No objection from Plaintiffs, Your

11     Honor.

12                MR. RIVERO:    No objection from the Defense, Your

13     Honor.

14                THE COURT:    Okay.        I know it's five to 4:00 and

15     there's another hour.       So certainly you're free to remain.

16     We'll go ahead and just lock the courtroom for security

17     reasons.    But you're free to use the conference rooms or to sit

18     outside.    And I'll see you back here at 5:00.

19          (Recess from 3:57 p.m. to 5:01 p.m.)

20                THE COURT:    All right.             Welcome back.         Good to see

21     everyone.

22                Is there anything we need to address before we adjourn

23     for the evening and excuse the jury for the evening?

24                MR. FREEDMAN:      Nothing for Plaintiffs, Your Honor.

25                MR. RIVERO:    Nothing from the Defense, Your Honor.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 31 of 33
                                                                                  31


  1               THE COURT:    Okay.        Let's bring the jury back in.

  2         (Before the Jury, 5:01 p.m.)

  3               THE COURT:    All right.             Welcome back, Ladies and

  4    Gentlemen.    Please be seated.

  5               As you can see, it is now 5:00 and we will adjourn for

  6    the evening.

  7               It's my understanding that you have requested of the

  8    courtroom deputy to come in tomorrow morning at 10:00 a.m.

  9    That's fine.

10                I would ask that you abide by the same instructions.

11     That is, if you'll meet in the vestibule, the court security

12     officer will come and get you and bring you into the jury room

13     that will be locked until all 10 of you have arrived tomorrow

14     morning at 10:00 a.m.

15                Please remember, as we adjourn for the evening, you're

16     not to discuss this case with anyone, nor permit anyone to

17     speak with you.     All the evidence has been received.               You are

18     not to conduct any independent research.

19                And the court security officer, as well as the

20     courtroom deputy, will see you tomorrow morning at 10:00 a.m.

21                Have a pleasant evening.

22          (Jury not present, 5:02 p.m.)

23                THE COURT:    All right.             If there's nothing further,

24     have a pleasant evening.

25                I would suggest that we follow the same procedure.

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 32 of 33
                                                                                   32


  1    That is, please be at hand in the event that the jury has a

  2    question or arrives at a verdict.                   And I will see you at some

  3    point tomorrow.

  4               MS. McGOVERN:      Thank you, Your Honor.

  5               MR. RIVERO:    Good night, Your Honor.

  6               THE COURT:    Have a nice evening.

  7         (Proceedings adjourned at 5:03 p.m.)

  8

  9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
Case 9:18-cv-80176-BB Document 852 Entered on FLSD Docket 12/20/2021 Page 33 of 33
                                                                             33


  1    UNITED STATES OF AMERICA                  )

  2    ss:

  3    SOUTHERN DISTRICT OF FLORIDA              )

  4                             C E R T I F I C A T E

  5                I, Yvette Hernandez, Certified Shorthand Reporter in

  6    and for the United States District Court for the Southern

  7    District of Florida, do hereby certify that I was present at

  8    and reported in machine shorthand the proceedings had the 29th

  9    day of November, 2021, in the above-mentioned court; and that

10     the foregoing transcript is a true, correct, and complete

11     transcript of my stenographic notes.

12                 I further certify that this transcript contains pages

13     1 - 33.

14                 IN WITNESS WHEREOF, I have hereunto set my hand at

15     Miami, Florida this 2nd day of December, 2021.

16

17                             /s/Yvette Hernandez
                               Yvette Hernandez, CSR, RPR, CLR, CRR, RMR
18                             400 North Miami Avenue, 10-2
                               Miami, Florida 33128
19                             (305) 523-5698
                               yvette_hernandez@flsd.uscourts.gov
20

21

22

23

24

25

                                 Yvette Hernandez, Official Court Reporter
                                     400 North Miami Avenue, 10-2
                                          Miami, Florida 33128
                                             (305) 523-5698
